
This matter having come before the Court upon the filing of a Joint Petition for Indefinite Suspension by Consent, it is this 21st day of March, 2017,
ORDERED, by the Court of Appeals of Maryland, that the Joint Petition be, and it is hereby GRANTED; and it is further,
ORDERED, that the Respondent, Jude Chukwuma Ezeala, is hereby indefinitely suspended from the practice of law in the State of Maryland for engaging in professional misconduct involving violations of the former Maryland Lawyers' Rules of Professional Conduct 1.1, 1.2, 1.3, 1.4. 1.5. 1.15(a) and (c), 1.16(d). 5.3(a),(b), and (c), and 8.4(a) and (d); and it is further,
ORDERED, that the Clerk of this Court shall remove the name of Jude Chukwuma Ezeala from the register of attorneys in *146the Court and certify that fact to the trustees of the Client Protection Fund of the Bar of Maryland and the Clerks of all judicial tribunals in this State in accordance with Maryland Rules 19-736(d) and 19-761(b).
